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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                               :      Hon. Dennis M. Cavanaugh

               v.                                      :      10 Cr. 851 (DMC)

STEPHEN DEPIRO, et al.                                 :      ORDER


       This matter having been opened to the Court on the application of the United States of

America, in the presence of defendants (through their respective counsel), for an adjournment of

the motion and trial schedule; the defendants having opposed any adjournment of the motion

schedule and a trial date subsequent to January 2013; the Court having considered the arguments of

counsel; and for good and sufficient cause shown;

       WHEREFORE, it is on this 7th       day of August, 2012

       ORDERED that the government’s request for a continuance is hereby granted over the

defendants’ objections;

       IT IS FURTHER ORDERED that the Court’s Amended Order for Discovery and

Inspection, filed January 27, 2012, is hereby modified as follows: (i) the United States’ opposition

to defendants’ motions shall be filed no later than September 23, 2012; (ii) the defendants’ replies

shall be filed no later than October 22, 2012; (iii) the motions hearing date is scheduled for

December 10, 2012 at 9:30a.m.; and (iv) the trial of this matter shall commence January 29, 2013,

at 9:30 a.m.

       IT IS FURTHER ORDERED that all other provisions of the Court’s Amended Order for

Discovery and Inspection shall remain in effect; and




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       IT IS FURTHER ORDERED that the period from October 31, 2012 until January 29,

2013, shall be excludable in computing time under the Speedy Trial Act of 1974.



                                                    S/DENNIS M. CAVANAUGH
                                                    HON. DENNIS M. CAVANAUGH
                                                    United States District Judge




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